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                               UNITED STATES DISTRICT COURT

                                  DISTRICT OF CONNECTICUT



 LOUIS ROMAN,                                       :
                                                    :
      Plaintiff,                                    :       CASE NO. 3:17-CV-1822 (AWT)
                                                    :
 v.                                                 :
                                                    :
 BNY WESTERN TRUST,                                 :
 BEN STASKIEWICZ, Esq.,                             :
 BRIAN D. RICH, Esq.,                               :
 JOHN DOES, 1 through 100,                          :
 JANE ROES, 1 through 100,                          :
 BANK OF NEW YORK TRUST,                            :
                                                    :
      Defendants.                                   :



                                            JUDGMENT

         This action came on for consideration of the defendants’ motions to dismiss the plaintiff’s

complaint before the Honorable Alvin W. Thompson, United States District Judge.

         The Court having considered the motions and the full record of the case including

applicable principals of law, issued an order granting the defendants’ motions. It is therefore;

         ORDERED, ADJUDGED AND DECREED that judgment is hereby entered dismissing

the case, as to all defendants. In addition, this case is dismissed in its entirety based on

Younger abstention, and the case is closed.

         Dated at Hartford, Connecticut, this 11th day of January, 2019.



                                                                 ROBIN D. TABORA, Clerk


                                                                 By /s/ Linda S. Ferguson
                                                        `        Linda S. Ferguson
                                                                 Deputy Clerk

EOD: 1/11/19
